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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :       Case No: 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                      Defendant.             :

                             GOVERNMENT’S WITNESS LIST

       The Government’s potential witness list for its case-in-chief is below. Pursuant to the

Court’s Scheduling Order, the Government respectfully reserves the right to call additional

witnesses as necessary in any rebuttal to the Defendant’s case-in-chief.

A.     Witnesses Who Will Be Called

       1.      Stephen Hart. Special Agent Hart will testify about various statements made by
               the Defendant and his counsel regarding the subpoena and the Defendant’s
               default. He may also testify about subpoena returns and other records gathered in
               the course of the Government’s investigation.

       2.      Kristin Amerling. Ms. Amerling, Deputy Staff Director and General Counsel of
               the Select Committee to Investigate the January 6th Attack on the United States
               Capitol (“the Committee”), will testify about the Committee’s investigation, its
               issuance of a subpoena to the Defendant, and the Defendant’s default.

B.     Witnesses Who May Be Called

       1.      Sean Tonolli. Mr. Tonolli, Committee Counsel, may testify about his
               communications with the Defendant’s counsel regarding the Defendant’s
               deposition.
